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 5
 6                        UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF WASHINGTON
 7
 8 UNITED STATES OF AMERICA,                     )
                                                 )
 9              Plaintiff,                       )       CR-08-150-WFN
                                                 )       CR-08-173-RHW-007
10           vs.                                 )
                                                 )       United States' Sentencing
11 DARTANYAN JUEL TURNER,                        )       Memorandum
                                                 )
12                                               )
               Defendant.                        )
13
14
             Plaintiff, United States of America, by and through James A. McDevitt,
15
     United States Attorney for the Eastern District of Washington, and Joseph H.
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     Harrington, Assistant United States Attorney for the Eastern District of
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     Washington, submits the following sentencing memorandum.
18
                                         Introduction
19
             It appears the Presentence Investigation Report (“PSR”), along with the
20
     accompanying Addendum dated September 10, 2009, are complete and accurate.
21
     Although the Defendant questioned whether his Guidelines computation should
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     include a 4- level increase based on his possession of a firearm/ ammunition in
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     connection with another felony offense (see PSR ¶ 149), he notably failed to
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     mention that he agreed this increase properly applies when he entered the Plea
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 1 Agreement in cause no. CR-08-150-WFN. See Plea Agreement ¶ 10(b) (“United
 2 States and [the Defendant] further agree * * * ”).1
 3           The United States respectfully submits that, at a minimum, a 120-month
 4 term of incarceration, followed by a three-year term of supervised release, would
 5 be a “reasonable” sentence under the facts and circumstances of these cases and
 6 would not be greater than necessary to promote the purpose and policy of the
 7 Federal Sentencing Act, 18 U.S.C. § 3553(a).
 8                                          Legal Overview
 9           In accordance with the Supreme Court’s decision in United States v.
10 Booker, 543 U.S. 220, 125 S.Ct. 738 (2005), sentencing courts must engage in a
11 two-step process when imposing a sentence. The first step requires a court to
12 calculate properly the advisory Guidelines sentencing range. See United States v.
13 Cantrell, 433 F.3d 1269, 1279-80 (9th Cir. 2006). A sentencing court should use
14 this range as a starting point for its assessment of an appropriate sentence. Id.
15 The second step requires a sentencing court to impose a “reasonable” sentence in
16 light of all the factors under 18 U.S.C. § 3553(a). See United States v. Marcial-
17 Santiago, 447 F.3d 715, 717 (9th Cir. 2006).2 A wide range of sentences may be
18 deemed reasonable. See United States v. Mohamed, 459 F.3d 979, 989 (9th Cir.
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             1
22                      The Defendant also raises objections to his Criminal History
23 computation, which objections are plainly academic (having no ultimate impact on
24 his criminal history category) or are properly included in the computation, as note
25 by the Addendum.
             2
26                      Cf. U. S. v. Zolp, 479 F.3d 715, 722 (9th Cir. 2007)(the scheme of
27 downward and upward departures is treated as essentially replaced by the
28 requirement that judges impose a “reasonable” sentence).
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 1 2006) (“reasonableness is a range, not a point.” (quoting United States v.
 2 Cunningham, 429 F.3d 673, 679 (7th Cir. 2005)).3
 3           A.         Step One: Guidelines Calculation
 4           The PSR appears to have correctly calculated the advisory Guidelines. With
 5 respect to the firearms-related offenses, the Defendant’s base offense level is 20.
 6 See PSR ¶ 146; Plea Agreement ¶ 10(a) (“United States and [the Defendant]
 7 agree”). The base offense level should be increased by 2 levels because the
 8 offenses involved at least three firearms. See PSR ¶ 147; Plea Agreement ¶ 10(b)
 9 (“United States and [the Defendant] agree”). The base offense level should be
10 increased an additional 4 levels because one of the firearms had an obliterated
11 serial number. See PSR ¶ 148; Plea Agreement ¶ 10(b) (“United States and [the
12 Defendant]also agree”). Finally, the base offense level should be increased an
13 additional 4 levels because the Defendant possessed any firearm or ammunition in
14 connection with another felony offense. See PSR ¶ 149; Plea Agreement ¶ 10(b)
15 (“United States and [the Defendant] further agree”). Hence, the Defendant’s
16 adjusted offense level is 30. See PSR ¶ 153.4
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             3
19                      On review, a sentence is subject to a three-part standard. A
20 sentencing court's application of the Guidelines to the facts of a case is reviewed
21 for abuse of discretion and a court's factual findings are reviewed for clear error.
22 See United States v. Cantrell, 433 F.3d at 1279-80. Courts of appeals apply a
23 presumption of reasonableness to a sentence that reflects a proper application of
24 the Guidelines and that falls within the advisory sentencing range. See Rita v.
25 United States, 551 U.S. 338, 127 S.Ct. 2456, 2462 (2007).
             4
26                      As noted in the PSR, the counterfeiting offenses add no incremental
27 increase in the Defendant’s total offense level under a grouping analysis. See PSR
28 ¶¶ 154-62.
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 1           After a 3 level reduction for the Defendant’s timely acceptance of
 2 responsibility (see PSR ¶¶ 163-64), his total offense level is 27. With a Criminal
 3 History category V ((see PSR ¶¶ 203-31),5 the Defendant’s advisory Guidelines
 4 sentencing range is 120-150 months.
 5           Pursuant to the Plea Agreement, “[the Defendant] and the United States
 6 acknowledge that they are free to make whatever sentencing recommendations
 7 they deem are appropriate within the applicable Guidelines sentencing range.”
 8 Plea Agreement, ¶ 11 (emphasis added). Here, the statutory maximum penalty for
 9 the firearms-related counts of convictions is 120 months.
10                      1.    Effect of Grouping
11           As noted above, the counts of conviction relating to the counterfeiting
12 offenses have no effect on the Defendant’s total offense level under a grouping
13 analysis. See PSR ¶¶ 154-62. The Guidelines provide that where, as in the
14 instant case,
15           there are several groups and the most serious offense is considerably more
             serious than all of the others, there will bo no increase in the offense level
16           resulting from the additional counts. Ordinarily, the court will have latitude
             to impose added punishment by sentencing toward the upper end of the
17           range authorized for the most serious offense.
18 USSG § 3D1.4, comment. (backg’d.). However, other than the absolute low end,
19 the 120-150 month sentencing range exceeds the statutory maximum penalty for
20 each of the firearms-related counts of conviction – the most serious offenses.
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22
23
             5
24                      The Defendant’s only serious contention regarding his Criminal
25 History computation relates to a 2006 Assault conviction for which he received a
26 365 day suspended sentence, subject to a 24 month term of probation. PSR ¶ 222.
27 This conviction is properly assessed one Criminal History point. See USSG §
28 4A1.1(c).
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 1                      2.   Consecutive v. Concurrent Sentence
 2           By way of the Plea Agreement in cause number CR-08-150-WFN, the
 3 parties acknowledged that, “while the Court has the authority to impose
 4 consecutive sentences for each conviction, the advisory Guidelines provide that
 5 the sentence imposed for multiple convictions ‘shall be the total punishment as
 6 determined in accordance with [the combined offense level computation].’ See
 7 USSG § 5G1.2(b).” Plea Agreement, ¶ 10(e.). In this vein, the parties also
 8 acknowledged that the firearms-related counts of conviction “carry no statutory
 9 requirement that any term of imprisonment imposed on each Count be run
10 consecutively.” Plea Agreement, ¶ 10(e.).
11           The Guidelines provide that if the sentence imposed on the count carrying
12 the highest statutory maximum penalty – in this case 120 months – is less than the
13 total punishment, “then the sentence imposed on one or more of the other counts
14 shall run consecutively, but only to the extent necessary to produce a combined
15 sentence equal to the total punishment.” USSG § 5G1.2(d).
16           Recognizing that the imposition of any partially consecutive sentence is a
17 discretionary determination by the Court, the United States and the Defendant
18 agreed “to recommend that the Defendant serve his sentence in [cause number 09-
19 CR-0173-RHW-7] concurrent to any sentence imposed under cause no. CR-08-
20 150-WFN.” Plea Agreement, ¶ 7(b.) (cause number 09-CR-0173-RHW-7).
21           B.         Step Two: Consideration of the Factors under 18 U.S.C. § 3553
22           To comply with the requirements of Booker, a sentencing court must not
23 only considered the Guidelines, but must consider the factors identified in 18
24 U.S.C. § 3553(a). “This requirement does not necessitate a specific articulation of
25 each factor separately, but rather a showing that the district court considered the
26 statutorily-designated factors in imposing a sentence ." See United States v.
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 1 Knows His Gun, 438 F.3d 913, 918 (9th Cir.2006).6 The factors a sentencing must
 2 consider are the nature and circumstances of the offense and the history and
 3 characteristics of the defendant. The sentencing court must also consider the need
 4 for the sentence imposed to: reflect the seriousness of the offense; promote respect
 5 for the law; provide just punishment; afford adequate deterrence to criminal
 6 conduct; protect the public from further crimes of the defendant; provide the
 7 defendant with needed educational training, medical care, or other correctional
 8 treatment. A sentencing court must also consider “the need to avoid unwarranted
 9 sentencing disparities among defendants with similar records who have been
10 found guilty of similar conduct.” 18 U.S.C. § 3553(a)(6).
11                      1.    Nature and circumstances of the offenses
12           The nature and circumstances of the firearms-related offenses are serious.
13 The Defendant had numerous firearms in his possession, along with significant
14 quantities of controlled substances. The number, type, obliterated serial number,
15 and circumstances under which the Defendant possessed the firearms weigh in
16 favor of a lengthy sentence. Moreover, the Defendant was involved in a fairly
17 sophisticated counterfeiting scheme for which he should be held accountable.
18                      2.    History and characteristics of the defendant
19           The Defendant’s history and characteristics are vexing. He has a long-term
20 criminal history, much of which is not factored into his Criminal History
21 computation. He began his string of criminal behavior at age ten in 1991. His
22 adult criminal convictions included violent crime (First Degree Robbery, PSR ¶
23 203 and Assault, PSR ¶ 222) as well as drug-related crimes (Possession of
24 Marijuana, PSR ¶ 206 and Possession of Cocaine, PSR ¶ 215). He has limited
25 formal education, receiving a GED while incarcerated ( PSR ¶ 260) and has
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             6
                        See also Rita v. United States, – U.S. -- , 127 S.Ct. 2456, 2462
28 (2007).
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 1 extremely limited employment history, having been unemployed without a viable
 2 means of financial support since 2007.
 3           Significantly, the Defendant has three children for whom it appears he
 4 provides little, if any, financial assistance.
 5           This factor fully supports a stiff sentence.
 6                      3.   Reflect the seriousness of the offense
 7           It goes without saying that possessing numerous firearms, as well as
 8 significant amount of drugs, and engaging in counterfeiting activity are extremely
 9 serious offenses. This factor weighs in favor of a sentence that includes not only
10 incarceration, but a lengthy term of oversight.
11                      4.   Promote respect for the law
12           The Defendant’s criminal history speaks for itself. A lengthy sentence
13 should plainly get the Defendant’s attention. This factor also weighs in favor of a
14 lengthy sentence.
15                      5.   Provide just punishment
16           The Defendant needs to be punished for all of his criminal conduct. A
17 sentence can be fashioned to provide adequate punishment that would support the
18 purpose and policy of the Federal Sentencing Act, 18 U.S.C. § 3553(a). Any such
19 sentence can and should include the conditions and special conditions set forth in
20 the Addendum to the PSR.
21                      6.   Afford adequate deterrence to criminal conduct
22           A sufficient term of oversight, such as a three-year term of supervised
23 release, will subject the Defendant to judicial supervision after he is released from
24 incarceration. Such oversight will plainly afford a deterrence to future criminal
25 conduct.
26                      7.   Protect the public from further crimes of the Defendant
27           This factor weighs in favor of a lengthy term of incarceration. Given the
28 Defendant’s long criminal history, his involvement with firearms and drugs, and
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 1 his counterfeiting activities, the Defendant activities plainly demonstrate a clear
 2 risk to the public.
 3                      8.   Provide educational training, medical care, or other
                             correctional treatment
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             This factor weighs in favor of fashioning a sentence that includes the
 5
     conditions and special conditions set forth in the Addendum to the PSR.
 6
                                             Conclusion
 7
             Based on the foregoing, the United States respectfully submits that this
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     Court should impose, at a minimum, a 120-month term of incarceration, to be
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     followed by a three-year term of supervised release. Any such sentence would be
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     “reasonable” under the facts and circumstances of these cases and would not be
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     greater than necessary to promote the purpose and policy of the Federal
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     Sentencing Act, 18 U.S.C. § 3553(a).
13
             DATED September 14, 2009.
14
                                                James A. McDevitt
15                                              United States Attorney
16
                                                s/Joseph H. Harrington
17
                                                Joseph H. Harrington
18                                              Assistant United States Attorney
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 1           I hereby certify that on September 14, 2009, I electronically filed the
 2 foregoing with the Clerk of the Court using the CM/ECF System which will send
 3 notification of such filing to the following, and/or I hereby certify that I have
 4 mailed by United States Postal Service the document to the following non-
 5 CM/ECF participant(s):
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